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UNITED STATES DISTR]CT C()UR'[`
NORTI-IERN DISTR|CT OF ILLINDIS

()RIJER OF TIIE EXECUT[VE COMMITTEE

TT AFPEARlNG TIIAT the new case number 08 CV 2248 was assigned in error_; and

IT FURTI-IER APPEARING that the new case 08 CV 2248 was a duplicate assignment
of an action filed just prior to it, under 08 CV 2243, that was assigned to the calendar of J`udge
Gottschall of this court; therefore

l'l` IS IIEREBY ()RDERED that the assignment of 08 CV 2248 to ludgc Guzman shall
he vacated and that case number 08 CV 2248 shall not be used f`or anyr other proceeding

ENTER:

FOR THE EXECUTIVE COMM['I`TEE

   

..hiel`Judge lamc's l". l-lolderman

Dated al Chicago this 2 "MO day ol`¢%_, 2008.

